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 2   United States Attorney
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 9
10                         UNITED STATES DISTRICT COURT
11                              DISTRICT OF NEVADA
12                                     -oOo-
13
14   UNITED STATES OF AMERICA,           )
15                                       )          2:07-cr-145-KJD-PAL
16                     Plaintiff,        )
17                                       )          Government’s Unopposed Motion
18   vs.                                 )          to Stay and Hold In Abeyance
19                                       )          Proceedings Regarding Defendant’s
20   MICHAEL WAYNE YOST,                 )          Eligibility for a Sentence Reduction
21                                       )          Until His Direct Appeal Is Final
22                     Defendant.        )
23   ____________________________________)
24

25           The United States of America, by United States Attorney Daniel G. Bogden

26   and Appellate Chief and Assistant United States Attorney Elizabeth O. White, files

27   this motion to stay and hold in abeyance this Court’s order (Doc. #1477) regarding

28   Defendant’s potential eligibility for a sentence reduction until Defendant’s direct

29   appeal is final and jurisdiction is returned to this Court. In support of this

30   unopposed motion, undersigned counsel states as follows:

31   1.      On March 17, 2010, this Court sentenced Defendant to 168 months’

32   imprisonment upon his conviction for a drug conspiracy in violation of 21 U.S.C.

33   § 846. CR 1279.

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 1   2.      Defendant filed a timely notice of appeal, CR 1280, which the court of appeals

 2   docketed as C.A. No. 10-10125. See CR 1286. After lengthy delays, that appeal is now

 3   fully briefed, and oral argument has been scheduled for October 19, 2015. See C.A.

 4   No. 10-10125 (8/11/15 Notice of Oral Argument).

 5   3.      On June 8, 2015, pursuant to the protocol this Court established for

 6   evaluating defendants’ eligibility for sentence reductions under 18 U.S.C.

 7   § 3582(c)(2) in light of retroactive Guideline Amendment 782, the Federal Public

 8   Defender filed a motion for appointment of counsel to represent Defendant to

 9   determine whether he qualified for such a reduction. CR 1476. On July 8, 2015, this

10   Court entered an order 1) appointing the Federal Public Defender to represent

11   Defendant, 2) ordering the probation office to obtain and provide to the parties

12   information necessary to determine whether Defendant qualified for a reduction,

13   and 3) setting a briefing schedule. CR 1477.

14   4.      Because Defendant’s appeal is pending before the court of appeals, this Court

15   is without jurisdiction to address his eligibility for a sentence reduction pursuant to

16   18 U.S.C. § 3582(c)(2) and U.S.S.G. Amendment 782. See Griggs v. Provident

17   Consumer Discount Co., 459 U.S. 56, 58 (1982) (per curiam) (“The filing of a notice of

18   appeal is an event of jurisdictional significance—it confers jurisdiction on the court

19   of appeals and divests the district court of its control over those aspects of the case

20   involved in the appeal.”).




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 1    5.      Undersigned counsel contacted Assistant Federal Public Defender Nisha

 2    Brooks-Whittington. Ms. Brooks-Whittington said she has no opposition to the

 3    government’s motion or to an order staying and holding in abeyance the proceedings

 4    regarding the Defendant’s potential eligibility for a sentence reduction until his

 5    direct appeal is final.

 6            For the reasons stated above, the government respectfully requests that the

 7    Court grant this unopposed motion, and stay and hold in abeyance proceedings

 8    regarding Defendant’s potential eligibility for a sentence reduction until his direct

 9    appeal is final and jurisdiction has been returned to this Court.

10

11    Dated this 17th of August, 2015.

12                                            Respectfully submitted,
13
14
15                                            DANIEL G. BOGDEN
16                                            United States Attorney
17
18
19                                            s/ Elizabeth O. White
20                                            Elizabeth O. White
21                                            Appellate Chief and
22                                            Assistant United States Attorney
23

                                                          IT IS SO ORDERED.


              8/28/2015
     Dated: _________________                             ______________________
                                                          U.S. District Judge




                                                 3
